Exhibit 1
                                    ST"        L         UIS COUNTY




                                                          July 24, zotg


Honorable Catherine D. Perry
United States District Court for the Eastern District of Missouri
rrr South roth Street
St. Louis, Missouri 6groz

        R:e: United States u. SteuenV. Stenger, Case No.                              4:t9CR3rz CDP/NCC
Dear Judge Perry:

        As elected representatives of St. Louis County government, we are jointly writing
to sumtnarize the defendant's negative impact on our County and its residents. This
letter reflects our collective experience, as well as the experience of several County
employees, appointees, residents, and other impacted individuals, facts we uncovered
when we asked them to describe their experiences with the defendant. We hope this will
assist you in deciding the fair and just sentence to impose in this case.

        The defendant's behavior had a devastating impact on St. Louis County. The
defendant's criminal conduct speaks for itself, but the impact of his behavior goes far
beyond the facts described in the indictment. For five years, the defendant bJhaved as if
he was an untouchable king, particularly as he began to believe he would continue in
office as the unelected "Metro Mayor" of a newly-combined regional government.
Throughout his tenure, the defendant created and fostered a working environment for
County employees and other elected officials that was marked by fear, intimidation,
manipulation, and retribution.

          The defendant con                               the good of St. Louis County.
Early in his administratio                                "If you haven,t figured it out
y_et, I'1n only interested in             at benefit me." This remark u/trre
defendant seemed to summarize the experiences many of his staffhad witlr-him. If a
                                              e very interested in it. There is perhaps
                                              dollars to raise an unprecedented sum
                                          The defendant treated any official decision
                                           ost important policy prioritybut ignored
everything erse.

      As a chief executive and leader, the defendant failed in dramatic fashion. His
former staffmembers are Ieft feeling betrayed, used, demoralized, and disillusioned.


                         ADMINISTRATION BUILDING . 4 I S, CENTRAL AI/EMIE . CLAWON, MISSOUN 6 3 I 05
     The County Govemment Center and the Council Chamber are accessible for persons with disabilities, If you need an accomodation or
      need this material in an altemative format, please call Genevieve Frank, Adminishative Director, at (314) 615-5440 (voice) or call
                                     RelayMO 7ll or l-800-735-2966 (TTY). FaxNumber: 314-615-7890
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The work atmosphere the defendant embraced was more that of a fraternityhouse than
an elected official's office. The defendant rarely appeared in his office, and would be
absent for weeks at a time. He did not respect the dignity of his office. When he did
come to work, he typically arrived late in the day wearing shorts, a t-shirt, and a baseball
hat, and then he would immediately close the door and spend much of the day playing
video games in his office before leaving early. He ignored offensive behavior. On at
least three different occasions, each involving a different female employee, the
defendant was present during instances of sexual harassment or learned of the instance
shortly after the conduct occurred, but the defendant never took investigative or
disciplinary action to rectify the situation. Literally laughing in the face of overt sexual
harassment by campaign contributors and reporters, the defendant encouraged an
atmosphere where victims were without a voice and felt that they could not go to the
County Executive to report inappropriate behavior.

       The defendant's criminal enterprise put dedicated public employees in difficult if
not impossible positions. The defendant's scheme often required County employees to
act unethically, and sometimes put them in positions with such limited information that
they could not have known then that what they were being told to do was inappropriate.
County employees were trapped, knowing that their refusal to comply would result in
termination or forced resignation. The attendant loss of tenured, experienced, and
professional expertise left a lasting imprint on Countygovernment that is significant
and widespread.

        Some of the roughly 4,ooo County employees stood up against the defendant,
and their courage and adherence to high ethical standards must be acknowledged. But
many other employees were held hostage by a criminal, forced to choose between
leaving for a less toxic work environment and remaining, accepting the stress and
anxiety of hoping they would not be caught up in the defendant's corrupt behavior or
unwittingly drawn into an illegal activity. Those who stayed as employees took home
the stress, anxiety, depression, and anger, which can spread like an infective virus to
friends and families, helping to create a hopelessness that St. Louis County would never
move forward or address our real problems: racial inequities, economically devastated
communities, lack of opportunity, and so many more.

        The defendant thrived on division. He tried to divide the County Council, pitting
one Council member against another. He tried to divide Democrats from Republicans,-
Democrats from other Democrats, and Republicans from other Republicans. He pitted
nurses against police officers, unions against other unions, and everyday people against
his campaign contributors. Sometimes it seemed Steve Stenger couid nbf gef alo"Ig *itt
any_one_ except his campaign donors. And he certainly got along well with ihem. In the
end, other than with the defendant's_campaign contributors, thi defendant's leadership
style made County government largely dysfunctional, unpredictable, and hamstrung.
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        The defendant's contentious relationships are legion, and they severely hampered
our region's  progress. The defendant's personal animosityfor John Nations, the former
leader of Bi-State Development Corporation ("Bi-State"), his petty jealousy of former
Mayor Francis Slay, his contempt for his colleagues on the County Council, and his
hatred for anyone he saw as crossing him led to stalled budgets, wasted ta4payer dollars,
and thwarted opportunities for regional collaboration. For instance, Bi-State long had
the opportunity to refinance its debt and use any savings to implement new Metrolink
security strategies, but the defendant refused to approve the refinancing solely as a
result of his personal pique with Bi-State's leader. The opportunltyto refinance Bi-
State's debt was but one of the countless opportunities that St. Louis County missed as a
result of the defendant's behavior.

        He often scoffed at the expectation that he perform the duties of his office, and he
adamantly refused to lead on the important issues of the day. The defendant's
sentencing hearing is scheduled to ol",rr the week of Augusi 9, the fifth anniversary of
Michael Brovvn's death in Ferguson. Five years ago, the world's eyes focused on St.
Irgit County. Taking office shortly thereafter, the defendant faced a County needing
real leadership, but he refused to engage genuinelywith the African-American
community and he chose simply to ignore the vexing challenges that faced County
residents.

 _ Similarly, the defendant's dismissal of decisions regarding the county's day-to-
day-management and operations left the Countyparalyzed to addressing ongoing
challenges. His ilattention to Animal Care and Control's operations left it in disirray.
His failure to lead the Justice Center to implement new policies and practices left it in a
chaotic state. His failure to address desperate budget issues, his disregard for his own
budget director's advice, and his order that departments ignore the need for budget cuts
left the Countywith an annual operating deficit of several million dollars. His refusal to
engage with the community resulted in the federal government pushing the County
toward demolishing public housing units in Wellston. The defendant's lack of attention,
care, and compassion almost led to the displacement of hundreds of Wellston residents,
Tany of which were children who could have been left homeless. In each instance, the
defendant ignored an issue where he did not see a monetarybenefit for himself or for
his political campaign.       selfish priorities left these and many other important policy
                         -His
decisions unaddressed for years.

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                                                and wide.
                                                candidate                              the
countyboards and commissions. Each
                                       "r,h#;'jf,-?*:1':t::::r':ilill"Trl'Ji:ll"*
County-these are just some of the results of St. Louis County's damaged biand.
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        The defendant's systemic "pay-to-play" scheme also severely compromised St.
Louis County's brand as a place for economic development and investment. The
defendant told potential developers and potential Countyvendors that theywould
"never get County business" if their proposal failed to benefit the defendant. The
reputation for "pay-to-play" behavior has discouraged ethical developers from planning
projects in the County and has discouraged ethical vendors from bidding on County
contracts. We do not yet know the full extent of the financial damages, but we know
that the financial toll and opportunity costs to the County over the coming years are
significant and may be incalculable.

       The defendant's conduct has taken its toll on so many good people of strong
moral character and respectable reputations who-despite their best judgment-trusted
the defendant, contributed to his campaigns, sought his help,lobbied him, or served as
one of his staffmembers, advisors, contractors, or consultants. Many of those people
knew nothing about the defendant's criminal conduct and would not have approved of it
had they known. Nevertheless, they are left with the taint of being associated with Steve
Stenger. Many are unable to find work, form partnerships, or attract clients. Some are
connected to him in media reports despite their own innocence. The financial,
psychological, and personal costs these individuals sustained are impossible to quantifz;
money cannot compensate for their losses. It may be impossible to restore the
reputations of some innocent, well-intentioned people whose only desire was to engage
in public service and were shocked to find themselves working for a criminal.

    _ The County also sustained significant financial losses resulting from contracts
and agreements negotiated and entered into at the defendant's behest. The loss of this
capital will have long-term effects on the liquidity, viability, and economic health of the
County. The defendant's unbridled control of the Economic Development partnership
and Port Authority, as described in the indictment, shows his misus-e of public assets ior
personal and political gain. As a result, real estate owned by St. Louis County either was
sold to Stenger campaign contributors inappropriately or remains unsold because
potential buyers refused to "pay up." The defendant appointed individuals with
histories of opposing minority-owned and woman-o*nid businesses participation in
procuring contracts for County business. As a result of the defendant;s misute of
development agencies, some leaders in the City of St. Louis have threatened to remove
the City from the Economic Development partnership.

        The defendant's behavior also impacted the general public. Our constituents lost
trust in County Sovernment, its elected ofEcials, and in the democratic process as a
whole.- Taxpayers saw public funds spent to reward political supporters rather than
serve the public good. The defendant's lasting impait on Counfr government,s
reputation has rendered restoring trust in Countygovernment to be a generational
challenge.
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       In the final analysis, the defendant never behaved as if he appreciated or even
understood the significa- ce of his office. He never grasped the true meaning of public
service. He was not a public servant. He violated the public trust and his oath of office.

        The defendant dug an enormous hole for St. Louis County. The undersigned are
committed to working together in pulling our County out and moving forward with a
positive vision for the future. But we write now to express our hope that the Court order
a sentence that recognizes the immense negative impact Steve Stenger had on St. Louis
County and orders restitution to compensate the people of St. Louis County for his
crimes.


                                        Sincerely,




Sam Page                                                       G
County Executive                                                    Officer, County Council




          Walton Gray                                         Harder
District 4                                             District 7




                                                       Tim Fitch
       5                                               District 3
